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UNITED STATES OF AMERICA,

V.

APPROXIMATELY SIXTY-EIGHT
THOUSAND, SIX HUNDRED AND
SEVENTY-FIVE DOLLARS ($68,675.00)
U.S. CURRENCY; and

RUGER P95 PISTOL, 9 CALIBER
SERIAL NO. 31890141,

And

TORRY D. SAXTON,

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
SOUTHEASTERN DIVISION

Plaintiff,

Case No. l:l7-cv-00101 SNLJ

Defendants,

Claimant.

VVVVVvv\/VVVVVVVVVVVVV

CLAIMANT TORRY SAXTON’S VERIFIED CLAIM OF INTEREST

Pursuant to Rule G(S)(a) of the Supplernental Rules for Admiralty or Maritirne
Clairns and Asset Forfeiture Actions of the Federal Rules of Civil Procedure,
Claimant, Torry D. Saxton, by and through counsel, The Limbaugh Firrn, hereby
files this Verified Claim and asserts his interest and right in the Defendant In Rern
in this action.

Torry D. Saxton has a claim to, interest in, and right to the funds in the amount of
$68,675.00 in United States Currency and the Ruger P95 pistol, 9 caliber, Serial
No. 31890141, Seized by the United States pursuant to the “Verified Complaint of
Forfeiture” filed in this action on June l4, 2017. (Referred to as the “Defendant
Property”). Defendant Property is currently in the custody of a United States
Government Agency.

The basis of Torry D. Saxton’s interest in the property is that he is the lawful
owner of the property and said property Was not furnished or intended to be
furnished in exchange for controlled substances in Violation of the Controlled
Substance Act, Title 21, United States Code, Section 801 et seq., nor Was the

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Defendant Property proceeds traceable to such an exchange, and the Defendant
Property was not used to facilitate such an exchange

4. Torry D. Saxton is the lawful owner of the Defendant As such, Torry D. Saxton
demands the return of his property and the right to defend this action.

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VERIFICATION
I, Torry D. Saxton, hereby declare that have read the foregoing Verified Claim. I Verify
and Declare under penalty of perjury:
l. That the foregoing is true and correct;

2. That I am authorized to execute this Verification.

Executed this 26th day of July, 2017 in Cape Girardeau, Missouri.

M%

Tol§y-B./Saédn

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CERTIFICATE OF SERVICE
I hereby Certify that on this 26th day of July, 2017, a copy of the foregoing Verified
Statement of lnterest was served on behalf of Torry D. SaXton, Via First Class Mail upon Stephen
Casey, Assistant United States Attomey, C/O Danielle Floyd, Asset Forfeiture Specialist, U. S.

Attorney’s Offlce, 111 S. 10th Street, 20th Floor, St. Lou`

   

By: /s/Curtis O.P
Curtis oore #38067MO

THE LIMBAUGH FIRM

407 N. Kingshighway, Suite 400
P. O. Box 1150

Cape Girardeau, MO 63702-1150
Telephone: 573/335-3316
Fax: 573/335-0621

ATTORNEYS FOR CLAIMANT

